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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ALEXANDER DIXON                     :              CIVIL ACTION
                                    :
          v.                        :
                                    :
LAW OFFICE OF J. SCOTT WATSON       :              NO. 17-5236
P.C.                                :

                              MEMORANDUM

Bartle, J.                                           February 5, 2018

          Plaintiff Alexander Dixon brings this lawsuit under

the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C.

§§ 1692, et seq., against defendant, Law Office of J. Scott

Watson P.C. (“JSW”).    Before the court is the motion of JSW to

dismiss the complaint for failure to state a claim under Rule

12(b)(6) of the Federal Rules of Civil Procedure.

                                   I

          When considering a motion to dismiss for failure to

state a claim, the court must accept as true all factual

allegations in the complaint and draw all inferences in the

light most favorable to the plaintiff.        See Phillips v. Cty. of

Allegheny, 515 F.3d 224, 233 (3d Cir. 2008); Umland v. PLANCO

Fin. Servs., Inc., 542 F.3d 59, 64 (3d Cir. 2008).        We must then

determine whether the pleading at issue “contain[s] sufficient

factual matter, accepted as true, to ‘state a claim for relief

that is plausible on its face.’”        Ashcroft v. Iqbal, 556 U.S.
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662, 678 (2009) (quoting Bell Atlantic Corp. v. Twombly,

550 U.S. 544, 570 (2007)).

          On a motion to dismiss under Rule 12(b)(6), the court

may consider “allegations contained in the complaint, exhibits

attached to the complaint, and matters of public record.”

Pension Benefit Guar. Corp. v. White Consol. Indus., Inc.,

998 F.2d 1192, 1196 (3d Cir. 1993) (citing 5A Charles Allen

Wright & Arthur R. Miller, Federal Practice and Procedure § 1357

(2d ed. 1990)).   The court may also consider “matters

incorporated by reference or integral to the claim, items

subject to judicial notice, matters of public record, orders,

[and] items appearing in the record of the case.”         Buck v.

Hampton Twp. Sch. Dist., 452 F.3d 256, 260 (3d Cir. 2006)

(citing 5B Charles Allen Wright & Arthur R. Miller, Federal

Practice and Procedure § 1357 (3d ed. 2004)).

                                   II

          For present purposes, we accept as true the

allegations set forth in the complaint.       Dixon is a former

student of Drexel University.      JSW is a debt collector.      On

August 19, 2012 Dixon signed into Drexel University’s online

“banner system” for the first time from the zip code 22308.

This is the zip code for Alexandria, Virginia. 1        On this date and



1. Dixon resided in Alexandria, Virginia with his parents. In
addition to signing into the banner system from this zip code,
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from this zip code, Dixon electronically accepted Drexel

University’s terms and conditions set forth in the Student

Financial Obligations and Tuition Repayment Agreement (“Tuition

Repayment Agreement”).    The Tuition Repayment Agreement

provided, in relevant part:

          I understand that once I am registered for
          course(s) and/or participating in the
          Cooperative Education Program at Drexel
          University, I become solely responsible for
          payment of the resulting tuition, fees and
          any other balances pursuant to the Student
          Financial Obligations and Tuition Repayment
          Agreement. . . . This Agreement shall
          constitute a promissory note obligating me
          to pay all outstanding balances due to
          Drexel University.
          . . .
          I hereby acknowledge that I have read this
          Agreement and understand it. By clicking on
          the I Agree button below, I am consenting to
          be bound by this Agreement which shall serve
          as a promissory note, thereby obligating me
          to pay all outstanding balances due to
          Drexel University.

Dixon also logged into the banner system four additional times,

each time from the Philadelphia zip code 19104: September 24,

2012, December 19, 2012, April 1, 2013, and July 15, 2013.

          On November 16, 2016 JSW filed a lawsuit on behalf of

Drexel University in the Court of Common Pleas of Philadelphia

County to collect an outstanding payment of $36,639.39 from



he also signed and submitted the application for Drexel
University from this zip code, received an acceptance letter,
and it was the zip code from which he submitted his tuition and
housing non-refundable deposits.
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Dixon.    At the time of the filing, Dixon resided in the state of

Washington.     On November 22, 2016 Dixon was served by JSW via

regular and certified mail in Alexandria, Virginia. 2

            The underlying lawsuit proceeded to arbitration.

Dixon did not appear at the arbitration, although an attorney

appeared on his behalf.       A judgment was entered against Dixon in

excess of $38,000.      Dixon appealed this judgment. 3

            On July 11, 2017, JSW mailed a letter to Dixon in

which JSW identified himself as a debt collector in connection

with the underlying lawsuit and attached a proposed “Stipulation

and Settlement Agreement” between Dixon and Drexel University.

This Settlement Agreement set forth the schedule and manner of

payment of the judgment and attorneys’ fees and costs by Dixon

to Drexel University.      Dixon did not execute the Settlement

Agreement.

            The instant action was filed by Dixon on November 11,

2017.

                                     III

            Dixon first alleges that JSW has violated § 1692i of

the FDCPA by bringing the underlying debt collection action in

the improper venue of Philadelphia.


2. The complaint here does not state whether service in
Virginia was contested.

3. The complaint here does not allege the date of the
arbitration or the outcome of this appeal.
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          The purpose of the FDCPA is:

          [T]o eliminate abusive debt collection
          practices by debt collectors, to insure that
          those debt collectors who refrain from using
          abusive debt collection practices are not
          competitively disadvantaged, and to promote
          consistent State action to protect consumers
          against debt collection abuses.

15 U.S.C. § 1692(e).   To state a cause of action under the

FDCPA, a plaintiff must allege that: “(1) [Plaintiff] is a

consumer, (2) the defendant is debt collector, (3) the

defendant’s challenged practice involves an attempt to collect a

‘debt’ as the Act defines it, and (4) the defendant has violated

a provision of the FDCPA in attempting to collect the debt.”

Douglass v. Convergent Outsourcing, 765 F.3d 299, 303 (3d Cir.

2014) (citing Piper v. Portnoff Law Assocs., Ltd., 396 F.3d 227,

232 (3d Cir. 2005)).

          Section 1692i governs the venue in which a debt

collector may bring an action on a debt against any consumer.

It provides, in relevant part, that any “debt collector who

brings any legal action on a debt against any consumer

shall . . . in the case of an action [not seeking to enforce an

interest in real property], bring such action only in the

judicial district or similar legal entity (A) in which such

consumer signed the contract sued upon; or (B) in which such

consumer resides at the commencement of the action.”         15 U.S.C.

§ 1692i(a).   This provision was adopted by Congress to address

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“the problem of forum abuse, an unfair practice in which debt

collectors file suit against consumers in courts which are so

distant or inconvenient that consumers are unable to appear,

hence permitting the debt collector to obtain a default

judgment.”   Hess v. Cohen & Slamowitz, LLP, 637 F.3d 117, 120

(2d Cir. 2011) (quoting S.Rep. No. 95-382, at 5 (1977))

(internal quotation marks omitted).

          At this stage of the proceedings we must accept as

true the allegations in the complaint.      Dixon avers that he, a

consumer, lived in the state of Washington on the date that JSW,

a debt collector, filed the underlying debt collection lawsuit

and JSW does not dispute this.     Thus Philadelphia was the not

the place where he resided at the time.      See § 1692i(a)(2)(B).

          JSW instead maintains that venue was proper in

Philadelphia under § 1692i(a)(2)(A), which allows the suit to be

brought where the consumer signed the contract.        JSW argues that

Philadelphia meets this requirement because the Tuition

Repayment Agreement did not become binding and effective until

Dixon registered for classes here at Drexel University.

According to JSW, Dixon was located in Philadelphia, in zip code

19104, when he registered for classes.

          JSW’s argument is misplaced.      Accepting as true

Dixon’s allegations, he signed the Tuition Repayment Agreement



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in Alexandria, Virginia.    At this stage, that ends the

discussion.

          JSW further argues that through a forum selection

clause in the Tuition Repayment Agreement, Dixon consented to be

sued in Philadelphia for any disputes arising out of the

Agreement.    We find this argument unpersuasive.      Considering the

congressional purpose in enacting the venue provision, the

Tuition Repayment Agreement cannot supersede the FDCPA.         See

Hess, 637 F.3d at 120.

          Accordingly Dixon has stated a claim under

§ 1692i(a)(2)(A) and the motion of JSW to dismiss on this ground

will be denied.

                                  IV

          Dixon alleges that the Second Clause of the proposed

Settlement Agreement communicated to him by JSW was false and

misleading and threatened action that could not legally be

taken, in violation of § 1692e of the FDCPA.       The Second Clause

of the Settlement Agreement stated:

          The payment of the aforementioned sum of
          $38,483.87 shall be paid by [Dixon] through
          the tender of consecutive monthly payments
          of $100.00 due on the 28th day of each and
          every month commencing on July 28, 2017
          until the Stipulation amount is paid in full
          or until January 28, 2018 when the account
          will be reviewed for a possible increase in
          payment.



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            The FDCPA provides that a “debt collector may not use

any false, deceptive, or misleading misrepresentation or means

in connection with the collection of any debt.”           15 U.S.C.

§ 1692e.    The statute defines specific conduct that violates

§ 1692e and provides that violations are not limited to the

conduct enumerated in the statute.         See id.   The FDCPA must be

broadly construed to give full effect to its remedial purposes.

Kaymark v. Bank of America, N.A., 783 F.3d 168, 174 (3d Cir.

2015).

            Our Court of Appeals has explained that the least

sophisticated debtor or consumer standard must be applied in

determining whether a statement is false or deceptive:

            The least sophisticated debtor standard
            requires more than “simply examining whether
            particular language would deceive or mislead
            a reasonable debtor” because a communication
            that would not deceive or mislead a
            reasonable debtor might still deceive or
            mislead the least sophisticated debtor.
            This lower standard comports with the basic
            purpose of the FDCPA: as previously stated,
            to protect “all consumers, the gullible as
            well as the shrewd,” “the trusting as well
            as the suspicious,” from abusive debt
            collection practices.

Brown v. Card Serv. Cent., 464 F.3d 450, 454 (3d Cir. 2006)

(internal citations omitted).        The standard is an objective one.

Jensen v. Pressler & Pressler, 791 F.3d 413, 419 (3d Cir. 2015).

The statute presumes “a basic level of understanding and

willingness to read with care” by the debtor in order to

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“prevent[] liability for bizarre or idiosyncratic interpretation

of collection notices[.]”    Brown, 464 F.3d at 454.

          JSW first contends that since Dixon did not accept the

Settlement Agreement, he suffered no injury and thus he does not

have standing.    In Spokeo, Inc. v. Robins, a case involving the

Fair Credit Reporting Act, the Supreme Court reiterated the

standing requirement:

          Our cases have established that the
          “irreducible constitutional minimum” of
          standing consists of three elements. Lujan,
          504 U.S., at 560, 112 S.Ct. 2130. The
          plaintiff must have (1) suffered an injury
          in fact, (2) that is fairly traceable to the
          challenged conduct of the defendant, and
          (3) that is likely to be redressed by a
          favorable decision. . . . To establish
          injury in fact, a plaintiff must show that
          he or she suffered “an invasion of a legally
          protected interest” that is “concrete and
          particularized” and “actual or imminent, not
          conjectural or hypothetical.” Lujan,
          504 U.S. at, 560, 112 S.Ct. 2130 (internal
          quotation marks omitted).

136 S.Ct. 1540, 1547-48 (2016).      The injury must be “de facto”

in order to be concrete.    Id. at 1548.    That is, the injury must

actually exist.   “The risk of real harm” can also satisfy the

concreteness test.    Id. at 1549.

          As we have previously noted, the overriding purpose of

the FDCPA is “to eliminate abusive debt collection practices by

debt collectors.”    15 U.S.C. § 1692(e).    The injury to Dixon

alleged here is the deceptive and misleading statement by JSW to


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Dixon in an effort to settle the debt obligation to Drexel

University.    The Second Clause of the proposed Settlement

Agreement that sets forth a payment schedule with review for

possible increases in payment at the very least creates

unnecessary fear and anxiety on the part of Dixon that he could

be bound to an unknown increases in payment.        This is a de facto

injury and thus Dixon has standing to bring the action.          See

In re Nickelodeon Consumer Privacy Litig., 827 F.3d 262, 273-74

(3d Cir. 2016).

           JSW next contends that even if Dixon has standing, his

claims should be dismissed since it only has one reasonable

interpretation and thus the proposed Settlement Agreement is not

false, deceptive, or misleading under § 1692e.

           As we have previously stated, the purpose of the FDCPA

includes eliminating abusive debt collection practices by debt

collectors.    15 U.S.C. § 1692(e).      Our Court of Appeals has

concluded that “[a] debt collection letter is deceptive where it

can be reasonably read to have two or more different meanings,

one of which is inaccurate.”     Brown, 464 F.3d at 455 (internal

quotation marks and citation omitted).        Additionally, the

statement must be material in order to be actionable under

§ 1692e.   Jensen, 791 F.3d at 421.       It must have the “potential

to affect the decision-making process of the least sophisticated

debtor[.]”    Id.

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          Dixon argues that the Second Clause of the Settlement

Agreement is false, deceptive, and misleading in that the least

sophisticated consumer would be confused as to what he would be

obligated to pay after January 28, 2018, if anything, and the

consequence that would occur if the consumer refused the new

monthly payment amount.    Dixon further suggests that the Second

Clause arbitrarily requires a possible increase in payments

without defining how this increase will be determined, at what

amount, and by whom.    According to him, this satisfies the

false, deceptive, and misleading standard of the FDCPA.

          We find that the least sophisticated consumer could

reasonably interpret the language of the Second Clause in more

than one way.   See Brown, 464 F.3d at 455.       Thus the settlement

offer from JSW is deceptive and misleading under the FDCPA.           As

the court in this district has previously noted in denying a

motion for judgment on the pleadings under the FDCPA, “the

central question is whether the facts in [the plaintiff’s]

complaint, if proven, could support a jury’s conclusion that the

hypothetical least sophisticated debtor would be deceived or

misled[.]”   Mushinsky v. Nelson, Watson & Assocs., LLC,

642 F.Supp. 2d 470, 472 (E.D. Pa. 2009).       The allegations here,

if proven, can support a jury’s finding that the least

sophisticated debtor would be deceived or misled.



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          Dixon has alleged sufficient facts to state a claim

under § 1692e of the FDCPA.     Accordingly the motion of JSW to

dismiss the complaint on this ground will be denied.




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